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                                    UNITED STATES DISTRICT COURT
                                   CENTRAL DISTRICT OF CALIFORNIA


                                       CIVIL MINUTES – GENERAL

 Case No.     LA CV22-01211 JAK (GJSx)                                           Date        June 24, 2022
 Title        Klauber Brothers, Inc. v. Maison Du Soir, Inc., et al.




 Present: The Honorable            JOHN A. KRONSTADT, UNITED STATES DISTRICT JUDGE

                T. Jackson-Terrell                                            Not Reported
                   Deputy Clerk                                        Court Reporter / Recorder
           Attorneys Present for Plaintiffs:                      Attorneys Present for Defendants:
                     Not Present                                               Not Present


 Proceedings:             (IN CHAMBERS) ORDER TO SHOW CAUSE RE DISMISSAL FOR LACK
                          OF PROSECUTION AS TO MAISON DU SOIR, INC.

The Court, on its own motion, orders Plaintiff to show cause in writing no later than July 1, 2022 why
this action should not be dismissed for lack of prosecution regarding overdue responses as Maison Du
Soir, Inc. Pursuant to Rule 55 of the Federal Rules of Civil Procedure, Plaintiff shall file an application
requesting the entry of default. Plaintiff is advised that the Court will consider the filing of an application,
which complies with the federal rules, on or before the date upon which the response is due, as a
satisfactory response to the Order to Show Cause. The Order to Show Cause will stand submitted upon
the filing of an appropriate response. No oral argument will be heard unless otherwise ordered by the
Court. Failure to respond will result in the dismissal of this matter.

IT IS SO ORDERED.




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                                                              Initials of Preparer      TJ




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